                UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                             No.


JOHN JACOB HASAY,
                Defendant


                           INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

                              COUNT ONE
                  Illegal Possession of a Machine Gun
                            18 U.S.C. g e22(o)

     From on or about October 22,2077, through on or about August

23, 2018, in Luzerne County, Pennsylvania, within the Middle District

of Pennsylvania, the defendant,

                        JOHN JACOB HASAY,

did knowingly possess a machine gun, namely, a Glock 19 9mm bearing

an auto sear, Serial No. BDCC352.

      In violation of Title 18, United States Code, Sectiong22(o).




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                      FORFEITURE ALLEGATION

      The allegations contained in Count One are hereby re'alleged and

incorporated by reference for the purpose of alleging forfeitures

pursuant to Title 18, United States Code, Section 924(d)(1), and Title

28, United States Code, Section246L(c).

      Upon conviction of an offense in violation of Title 18, United

States Code, Section 922, the defendant,

                           JOHN JACOB HASAY,

shall forfeit to the United States of America any firearms and

ammunition involved in the commission of the offense. The property to

be forfeited includes, but is not limited to, the following:

            a     Glock 19 9mm bearing an auto sear, Serial No.

                  BDCC352;

            b.    CAA Model G3, Micro Roni pistol carbine conversion

                  bearing a scope;

            c     IWI Model MP Uzi bearing a shortened bamel, Serial

                  No. W1005825i

            d.    GSG Model S22bearing a shortened barrel and a Black
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                 and Brown optic, Serial No. 4566778;

           e     Charter Arms Model AR-7 Explorer bearing a

                 shortened barrel, Serial No. 4145952;

           f.    Mossberg Model 5004, bearing a shortened barrel,

                 Serial No. J387O47;

           g.    I.O. Inc. Sporter bearing a suppressor, Serial No.

                 5030322;

           h.    two suppressorsi

           t.    miscellaneous sawed-off rifle and shotgun barrelsi and

           j.    miscellaneous ammunition and magazines.

     3.    Ifany ofthe forfeitable property described above,   as a result

of any act or omission of the defendant:

           a     cannot be located upon the exercise of due diligencei

           b.    has been transferred or sold to, or deposited with, a

                 third partyi

           c.    has been placed beyond the jurisdiction ofthe courti

           d.    has been substantially diminished in valuei or

           e.    has been commingled with other property which cannot

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                   be divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute

property pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 28, United States Code, Section246lG).

        Pursuant to Title 18, United States Code, Section 92+(d)(f), Title

28, United States Code, Section246lG), and Title 21, United States

Code, Section 853.

                                          DAVID J. FREED
                                          United States Attorney
oate:   lht Z 1ot6
                                    By:

                                          PHILLIP J. CARABALLO
                                          Assistant United States Attorney




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